Case 1:18-cv-01258-JRS-TAB Document 28 Filed 03/21/19 Page 1 of 2 PageID #: 114


                                                                               Motion granted to the extent the April 11,
                                                                               2019, settlement conference is vacated.
                                                                               However, moving the dispositive motions
                           IN THE UNITED STATES DISTRICT COURT                 deadline as requested would necessitate
                               SOUTHERN DISTRICT OF INDIANA                    moving the trial date. Accordingly, that
                                   INDIANAPOLIS DIVISION                       portion of the motion is denied. Any
                                                                               renewed motion to continue the
                                CASE NO. 1:18-cv-01258-WTL-TAB                 dispositive motions deadline shall include
 ADAM ROSS,                                                                    a request to continue the trial date. The
                         Plaintiff,                                            parties shall confer on these issues and
                                                                               jointly contact the Magistrate Judge's staff
                                                                               within 30 days to select a new date for a
 v.                                                                            settlement conference.

                                                                               Tim A. Baker
 BALL STATE UNIVERSITY,                                                        U.S. Magistrate Judge
                Defendant.                                                     March 21, 2019

              JOINT MOTION TO CONTINUE SETTLEMENT CONFERENCE
                  AND EXTEND DISPOSITIVE MOTIONS DEADLINE

         Come now the parties, by counsel, and jointly move to continue the Settlement

 Conference and to extend the dispositive motions deadline. In support of said Motion, the

 parties state:

         1.       The Settlement Conference in this matter is scheduled on April 11, 2019.

         2.       The dispositive motions deadline in this matter is April 25, 2019.

         3.       On February 28, 2019 counsel for Defendant sent to counsel for the Plaintiff the

 Defendant’s discovery responses which total approximately 7,000 pages of documents.

         4.       Counsel for Plaintiff has indicated that due to the press of other business he will

 not have an opportunity to begin to review the discovery responses for approximately one week.

         5.       Both sides have depositions they wish to schedule but until the discovery review

 is completed all persons to be deposed cannot be identified. The parties will not be able to

 complete dispositive motions until the depositions have been taken, and will not be in the best

 position to evaluate settlement until this phase of discovery is complete..

         6.       The parties believe that it would be in the best interests of the Court and the

 parties if the settlement conference on April 11, 2019 was continued for at least thirty (30) days
Case 1:18-cv-01258-JRS-TAB Document 28 Filed 03/21/19 Page 2 of 2 PageID #: 115



 and the dispositive motions deadline extended at least thirty (30) days after the settlement

 conference.

        7.      This Motion is not made to unduly delay these proceedings.

        WHEREFORE, the parties pray the Court for an Order granting this Motion and for any

 and all other relief just and proper in the premises.



                                                         HOCKER & ASSOCIATES LLC

                                                         BY​/s/ Brett Errol Osborne
                                                         Brett Errol Osborne #17492-45
                                                         6626 E. 75th St.
                                                         Suite 410
                                                         Indianapolis, IN 46250
                                                         Ph. (317) 578-1630 Ext. 30
                                                         Fax (866) 626-4914
                                                         E-mail: Bosborne@hockerlaw.com
                                                         ATTORNEYS FOR PLAINTIFF


                                                         DEFUR VORAN LLP

                                                         BY​/s/ Scott E. Shockley
                                                         Scott E. Shockley #2153-18
                                                         Maura J. Hoff #​25475-49-A
                                                         400 S. Walnut Street Suite 200
                                                         Muncie, IN 47305
                                                         Telephone: 765-288-3651
                                                         Facsimile: 765-288-7068
                                                         E-mail: sshockley@defur.com
                                                         E-mail: ​mhoff@defur.com
                                                         ATTORNEYS FOR DEFENDANT
